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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

SHIRLEY COTTON, as Administratrix of                                                PLAINTIFF
the Estate of Ida Roberson (deceased), and
on behalf of her heirs and wrongful death
beneficiaries

V.                                                              NO. 3:13-CV-00169-DMB-SAA

GGNSC BATESVILLE, LLC, d/b/a
Golden Living Center Batesville; GGNSC
ADMINISTRATIVE SERVICES, LLC;
GOLDEN LIVING; and GOLDEN
LIVING-CENTER                                                                    DEFENDANTS


                                 ORDER DISMISSING CASE

       The Court has been advised that this action has been settled, or is in the process of being

settled. Therefore, it is unnecessary that the action remain upon the calendar of the Court.

Accordingly, this case is DISMISSED without prejudice.             The Court retains complete

jurisdiction to vacate this Order and to reopen the action upon cause shown that settlement has

not been completed and further litigation is necessary.

       SO ORDERED, this 16th day of May, 2016.

                                                     /s/ Debra M. Brown
                                                     UNITED STATES DISTRICT JUDGE
